                 United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
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No. 25-5057                                                September Term, 2024
                                                                       1:25-cv-00334-BAH
                                                  Filed On: March 18, 2025 [2106300]
Gwynne A. Wilcox,

              Appellee

       v.

Donald J. Trump, in his official capacity as
President of the United States and Marvin
E. Kaplan, in his official capacity as
Chairman of the National Labor Relations
Board,

              Appellants

       BEFORE:       Circuit Judges Henderson, Millett, and Walker


                   COURTROOM MINUTES OF ORAL ARGUMENT

PROCLAMATION BEING MADE, the Court opened on Tuesday, March 18, 2025 at
9:34 a.m. The cause was heard as case No. 1 of 1 and argued before the Court by:

     Eric D. McArthur, counsel for Appellants.
     Deepak Gupta, counsel for Appellee.


                                                         FOR THE COURT:
                                                         Clifton B. Cislak, Clerk

                                                 BY:     /s/
                                                         Jaime T. Stratton
                                                         Deputy Clerk
